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                                   NOTICE OF HEARING




                       UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT


Ralph Sitts, et al.,

         v.                                         Case No. 2:16-cv-287

The Dairy Farmers of America, Inc., et al.


TAKE NOTICE that the above-entitled case has been scheduled at 10:00 a.m., on, Tuesday,
July 21 and Wednesday, July 22, 2020, in Burlington, Vermont, before Honorable Christina
Reiss, District Judge, for a Hearing on the pending Motions in Limine via video conference.



Location: video conference                         JEFFREY S. EATON, Clerk
                                                   By: /s/ Jennifer B. Ruddy
                                                   Deputy Clerk
                                                   6/24/2020



TO: Dana A. Zakarian, Esq.                         The court has allotted two full days for this hearing.
Elizabeth Reidy, Esq.                              Hearing will be held via video conference from 10:00
Gary Franklin, Esq.                                a.m. until 4:30 p.m.
Joel Beckman, Esq.
William Nystrom, Esq.
Michael Paris, Esq.
Ian Carleton, Esq.
Jennifer Giordano, Esq.
Margaret Zwisler, Esq.
W. Todd Miller, Esq.
Elyse Greenwald, Esq.
Alfred Pfeiffer, Jr., Esq.
Johanna Masse, Court Reporter
